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MURRAY GUARD, |NC.
P|aintiff,
v.

FREFERRED BENEF|TS, |NC.,

DAV|D R. VANDERSLICE (|ndividual|y),
EMPLOYERS ONE SOURCE, |NC.,
LESL|E E. SM|TH (lndividually), and
L.S. & ASSOC|ATES |NS.
CONSULTANTS, |NC.,

vvvvva`-I\-f\-ivvvv

Defendants.
AGREED ORDER ALLOW|NG DEFENDANTS PREFERRED BENEF|TS |NC. AND
_DAV|§) R. VA|`EDERSL|CEl THROUGH AND |NC|___l_._|plNG_|_\dAY 27, 2005l WITH|N
WH|C_!L| TO ANSWER OR OTH§RW|SE PLEAD |N RESPONSE TO THE COMPLA|NT

lt appearing to the satisfaction of the Court, as evidenced by the signatures
hereto of counsel for the plaintiff and defendants, Preferred Benetits, lnc. and David R.
Vanderslice, that it has been agreed these defendants will have through and including
lVlay 27, 2005, within which to Answer or othen/vise plead in response to the Complaint,
and

lt is hereby ORDERED, ADJUDGED and DECREED defendants, Preferred

Benefits, lnc., and David R. Vanderslice, shall have through and including lVlay 27,

2005, within which to answer or othenivise plead in response to the Complaint.

ENTEREDthis 534 dayor 22&' ,2005.

.=Y.%/)=¢ CQ.Z¢¢...) carr

Thlg document entered on the docket sheet m omnpr U.S. DlSTRICT COURT JUDGE
with Flule 58 and,‘or_?g (a) FF¢CP on

LA Vanders|ice Guard Agr Order 050426 i § l

Case 1:05-cv-OlO49-.]DT-STA Document 7 Filed 05/03/05 Page 2 013 PagelD 2

APPROVED FOR ENTRY:

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_§RTlFchTE oF s§Rvic_E

l hereby certify that on this 26th day of April, 2005, a true and correct copy of the
foregoing document has been sent via first class United States mai|, postage prepaid,
addressed to:

Larry A. Butler, Esquire Charles F. lV|orrow, Esquire

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LA Vanderslioe Guard Agr Order 050426 2

sDrsTRrCT COURT - WESTERN D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01049 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DlSTRICT COURT

